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                                                                                        FILED
                                                                                      U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS



                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS     JAMES W. c
                                                            By: _ ____,_ _ _ __

UNITED STATES OF AMERICA                     )
                                             )       No. 4:18CR     00 {'tQ> JM
vs.                                          )
                                             )       18 u.s.c. § 922(g)(l)
JAMES ROBINSON                               )

                                        INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                            COUNTl

       A.      Prior to September 16, 2017, the defendant,

                                      JAMES ROBINSON,

had previously been convicted as follows:

               1.     In Pulaski County Circuit Court for possession of a controlled substance,

                      in criminal case CR 92-03279;

               2.     In Pulaski County Circuit Court for battery - 2nd degree, in criminal case

                      CR 93-00460;

               3.     In Pulaski County Circuit Court for possession of firearms by certain

                      persons, in criminal case CR 98 002345;

               4.     In Pulaski County Circuit Court for possession of firearm by certain

                      persons, terroristic threatening 1st degree, and aggravated assault, in

                      criminal case CR 99 00254;

               5.     In Pulaski County Circuit Court for battery - 2nd degree, possession/use of

                      weapon-incarcerated persons, and aggravated assault, in criminal case CR

                      99 001794;

               6.     In Pulaski County Circuit Court for criminal mischief 1st degree, in

                      criminal case CR 2006 002533;
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                7.     In Pulaski County Circuit Court for DWI 4th or subsequent offense and

                       fleeing, in criminal case CR 2008 005260;

       B.      The crimes set forth in paragraph A above were punishable by a term of

imprisonment exceeding one year.

       C.       On or about September 16, 2017, in the Eastern District of Arkansas,

                                       JAMES ROBINSON,

did knowingly possess a firearm in and affecting commerce, to wit, a Hi-Point, model 4595, .45

caliber rifle with an unknown serial number, thereby violating Title 18, United States Code,

Section 922(g)(l).

                                 FORFEITURE ALLEGATION

       Upon conviction of Count 1 ofthis Indictment, the defendant, JAMES ROBINSON, shall

forfeit to the United States, under Title 18, United States Code, Section 924(d) and Title 28,

United States Code, Section 2461 (c), all firearms and ammunition involved in the commission of

the offense, including, but not limited to, the following specific property:

        1.     One (1) Hi-Point, model 4595, .45 caliber rifle with an unknown serial number;

               and

       2.      All ammunition seized on September 16, 2017.

                              [End of Text. Signature page attached.]
